      Case 20-11627-pmm                         Doc          Filed 05/08/24 Entered 05/08/24 15:21:52                             Desc Main
                                                             Document      Page 1 of 8
 Fill in this information to identify the case:
 Debtor 1
                 Lisa M. Williams
 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                                    (State)

 Case number 20-11627-pmm



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National                                    Court claim no. (if known): 4-1
Association, as Trustee of LB-Cabana Series IV Trust
                                                                              Date of payment change:                      07/01/2024
                                                                              Must be at least 21 days after date
Last four digits of any number you                   6343                     of this notice
use to identify the debtor's account:



                                                                              New total payment:                           $840.49
                                                                              Principal, interest, and escrow if any



 Part 1:         Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No

      Yes              Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:        $ 267.42                         New escrow payment:         $ 365.90

Part 2:          Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
       No
                       Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
       Yes             ____________________________________________________________________________________________
                       Current Interest Rate:                                        New interest rate:
                       Current principal and interest payment:       $                 New principal and interest payment:       $
Part 3:          Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
                       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
        Yes            agreement. (Court approval may be required before the payment change can take effect)

                       Reason for change: ____________________________________________________________________________

                       Current mortgage payment:         $                             New mortgage payment:           $




Official Form 410S1                                          Notice of Mortgage Payment Change                                                  Page 1
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             Lisa M. Williams
                                                           Document      PageCase
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                                                                                   8 (if known)
Debtor 1                                                                                                           20-11627-pmm
             First Name                Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

  /s/ Lauren Moyer, Esq                                                        Date     05/08/2024
     Signature


 Print:                   Lauren Moyer                                           Title     Attorney for Creditor
                          First name         Middle Name   Last name

 Company                  Friedman Vartolo LLP

 Address                  1325 Franklin Avenue, Suite 160,
                          Number                Street

                          Garden City           NY          11530
                          City                  State      Zip Code

 Contact phone            212) 471-5100                    Email:      bankruptcy@friedmanvartolo.com




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                   323 FIFTH STREET                                                                                     (800) 603-0836
                   EUREKA CA 95501                                                               Para Español, Ext. 2660, 2771 o 2750
                                                                                                     8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                             Main Office NMLS #5985
                                                                                                           Branch Office NMLS #9785




              LISA M WILLIAMS
              6439 N 15TH ST
              PHILADELPHIA PA 19126



Analysis Date: May 03, 2024                                                                                                             Final
Property Address: 5617 1/2 NORTH PALETHORP STREET PHILADELPHIA, PA 19120                                                 Loan:
                                       Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Dec 2022 to June 2024. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Jul 01, 2024:            Escrow Balance Calculation
 Principal & Interest Pmt:              474.59                  474.59             Due Date:                                   Jun 01, 2024
 Escrow Payment:                        267.42                  365.90             Escrow Balance:                                 (955.09)
 Other Funds Payment:                      0.00                    0.00            Anticipated Pmts to Escrow:                      267.42
 Assistance Payment (-):                   0.00                    0.00            Anticipated Pmts from Escrow (-):                   0.00
 Reserve Acct Payment:                     0.00                    0.00            Anticipated Escrow Balance:                     ($687.67)
  Total Payment:                         $742.01                  $840.49


                     Payments to Escrow       Payments From Escrow                                  Escrow Balance
       Date          Anticipated   Actual     Anticipated     Actual          Description           Required       Actual
                                                                          Starting Balance        1,604.52           306.77
      Dec 2022          267.42      238.67                             *                          1,871.94           545.44
      Jan 2023          267.42                                         *                          2,139.36           545.44
      Feb 2023          267.42      534.84                             *                          2,406.78         1,080.28
      Mar 2023          267.42                    1,301.81    2,388.06 * City/Town Tax            1,372.39        (1,307.78)
      Mar 2023                                                1,353.61 *                          1,372.39        (2,661.39)
      Apr 2023          267.42                                         *                          1,639.81        (2,661.39)
      May 2023          267.42                                         *                          1,907.23        (2,661.39)
      Jun 2023          267.42                                         *                          2,174.65        (2,661.39)
      Jul 2023          267.42                    1,907.23             * Homeowners Policy          534.84        (2,661.39)
      Aug 2023          267.42                                         *                            802.26        (2,661.39)
      Aug 2023                                                1,538.00 * Homeowners Policy          802.26        (4,199.39)
      Sep 2023          267.42                                         *                          1,069.68        (4,199.39)
      Oct 2023          267.42                                         *                          1,337.10        (4,199.39)
      Nov 2023          267.42                                         *                          1,604.52        (4,199.39)
      Feb 2024                                                2,388.06 * City/Town Tax            1,604.52        (6,587.45)
      May 2024                    1,353.64                             * Escrow Only Payment      1,604.52        (5,233.81)
      May 2024                    4,278.72                             *                          1,604.52          (955.09)
                                                                         Anticipated Transactions 1,604.52          (955.09)
      Jun 2024                    267.42                                                                            (687.67)
                     $3,209.04 $6,673.29       $3,209.04     $7,667.73


                                                                                                                               Page 1
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An asterisk                               Doc
                indicates a difference from         Filed
                                            a previous      05/08/24
                                                       estimate               Entered
                                                                either in the date         05/08/24
                                                                                   or the amount. If you 15:21:52         Desc Main
                                                                                                         want a further explanation, please call
our toll-free number.                               Document              Page     4   of 8

Last year, we anticipated that payments from your account would be made during this period equaling 3,209.04. Under
Federal law, your lowest monthly balance should not have exceeded 534.84 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Analysis Date: May 03, 2024                                                                                                                       Final
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Borrower: LISA M WILLIAMS                                                                                                           Loan:
                                                 Annual Escrow Account Disclosure Statement
                                                        Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                               (687.67)      1,635.87
     Jul 2024               327.17                                                                           (360.50)      1,963.04
     Aug 2024               327.17                                                                            (33.33)      2,290.21
     Sep 2024               327.17        1,538.00            Homeowners Policy                           (1,244.16)       1,079.38
     Oct 2024               327.17                                                                           (916.99)      1,406.55
     Nov 2024               327.17                                                                           (589.82)      1,733.72
     Dec 2024               327.17                                                                           (262.65)      2,060.89
     Jan 2025               327.17                                                                             64.52       2,388.06
     Feb 2025               327.17                                                                            391.69       2,715.23
     Mar 2025               327.17        2,388.06            City/Town Tax                               (1,669.20)         654.34
     Apr 2025               327.17                                                                         (1,342.03)        981.51
     May 2025               327.17                                                                        (1,014.86)       1,308.68
     Jun 2025               327.17                                                                           (687.69)      1,635.85
                         $3,926.04       $3,926.06

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 654.34. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 654.34 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is (687.67). Your starting
     balance (escrow balance required) according to this analysis should be $1,635.87. This means you have a shortage of 2,323.54.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 60
     months.

     We anticipate the total of your coming year bills to be 3,926.06. We divide that amount by the number of payments expected during
     the coming year to obtain your escrow payment.




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Analysis Date: May 03, 2024                                                                                                           Final
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Borrower: LISA M WILLIAMS                                                                                               Loan:

                                                                  Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                  monthly payment will be $801.76 (calculated by subtracting the
      Unadjusted Escrow Payment                     327.17
                                                                  Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                 0.00
                                                                  shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                               38.73
                                                                  your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                     0.00
                                                                  the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                              $365.90
                                                                  the effective date of your new payment. To ensure that the funds are
                                                                  posted to your account correctly, please notify your asset manager that
                                                                  you are paying the shortage.

    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
    history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
    Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                          IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


                                                   :
In re:                                             :
                                                   : Bankruptcy Case No. 20-11627-pmm
Lisa M. Williams,                                  :
                        Debtor                     : Chapter: 13
                                                   :
SN Servicing Corporation as Servicer for U.S.      : Judge: Patricia M. Mayer
Bank Trust National Association, as Trustee of     :
LB-Cabana Series IV Trust,                         :
                     Movant                        :
                                                   :
Lisa M. Williams                                   :
Kenneth E. West, Trustee                           :
                    Respondents                    :
                                                   :
                                                   :

               CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

        I certify under penalty of perjury that I served the above captioned pleading on the parties at
the addresses specified below or on the attached list on May 08, 2024.

        The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery,
or another type of service) was first-class mail and electronic notification

        If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the full name, email address, and where applicable the
full name of the person or entity represented, for each party served by electronic transmission is
listed under the heading “Service by NEF,” and the full name and complete postal address for each
party served by mail, is listed under the heading “Service by First-Class Mail.”

EXECUTED ON: 05/08/2024



                                                  FRIEDMAN VARTOLO, LLP.

                                                  By: /s/ Lauren Moyer, Esq
                                                  Lauren Moyer, Esq
                                                  FRIEDMAN VARTOLO LLP
                                                  Attorneys for Movant
                                                  1325 Franklin Avenue, Suite 160
                                                  Garden City, New York 11530
                                                  T: (212) 471-5100
                                                  F: (212) 471-5150
                                                  Bankruptcy@FriedmanVartolo.com
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                                             Service by NEF


     Kenneth E. West
     Office of the Chapter 13 Standing Trustee
     1234 Market Street - Suite 1813
     Philadelphia, PA 19107
     TRUSTEE

     Michael A. Cabik
     Cibik Law, P.C.
     1500 Walnut Street
     Suite 900
     Philadelphia, PA 19102
     DEBTORS’ COUNSEL

     United States Trustee
     Office of the U.S. Trustee
     Robert N.C. Nix Federal Building
     Suite 320
     Philadelphia, PA 19107
     U.S. TRUSTEE


                                        Service by First-Class Mail

     Lisa M. Williams
     5617 1/2 N. Palethorp Street
     Philadelphia, PA 19120
     Debtor(s)
